  Case 2:19-cv-00379-JAW Document 1 Filed 08/16/19 Page 1 of 3                   PageID #: 1



                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE



 STEPHEN TULLEY,

                 Plaintiff
                                                          Civil Action No. ________
 v.

 SURE WINNER FOODS,

                 Defendant



                             DEFENDANT’S NOTICE OF REMOVAL

         Defendant, Sure Winner Foods (“Sure Winner” or “Defendant”), pursuant to 28 U.S.C. §§

1331, 1441, 1446 and Fed.R.Civ.P. 81, file this Notice of Removal with respect to the above-

captioned case, which was filed and currently is pending in the York County Superior Court of the

State of Maine. The grounds for removal are as follows:

         1.     On or about April 29, 2019, Stephen Tulley commenced a civil action against

Defendant in the York County Superior Court of the State of Maine, entitled Stephen Tulley v.

Sure Winner Foods, Civil Case Number CV-19-103 (“State Court Action”). Defendant accepted

service of the Complaint on July 29, 2019.

         2.     Plaintiff has alleged claims under the Americans With Disabilities Act (42 U.S.C.

§ 12112).

         3.     Based on the foregoing, this Court has original federal question jurisdiction

pursuant to 28 U.S.C. § 1331.




B0093230.1
  Case 2:19-cv-00379-JAW Document 1 Filed 08/16/19 Page 2 of 3                     PageID #: 2



         4.    This civil action is being removed pursuant to 28 U.S.C. §§ 1441 and 1446.

         5.    Copies of all process and pleadings served on Defendant and all other parties in

connection with the State Court Action are attached hereto as Exhibits A, B and C. Upon

information and belief, no additional papers have been filed or served.

         6.    Written notice of filing of this Notice of Removal is being provided to all parties

herein, and a true and accurate copy of this Notice of Removal is being filed with the Clerk of the

York County Superior Court of the State of Maine, pursuant to 28 U.S.C. § 1446. A copy of the

state court notice of filing is attached hereto as Exhibit D.

         WHEREFORE, Defendant respectfully requests that this action proceed as an action

removed to the United States District Court for the District of Maine from the York County

Superior Court, State of Maine, for the above-stated reasons.


                                               Respectfully submitted,

                                               SURE WINNER FOODS,

                                               By their attorneys,



Dated: August 16, 2019                           /s/ Frederick B. Finberg
                                               Frederick B. Finberg, Esquire
                                               rfinberg@thebennettlawfirm.com
                                               Joanne I. Simonelli, Esquire
                                               jsimonelli@thebennettlawfirm.com

THE BENNETT LAW FIRM, P.A.
75 Market Street, Suite 201
Portland, ME 04101
(207) 772-4775




B0093230.1                                        2
  Case 2:19-cv-00379-JAW Document 1 Filed 08/16/19 Page 3 of 3                     PageID #: 3




                                CERTIFICATE OF SERVICE

       I, Frederick B. Finberg, hereby certify that, on this 16th day of August 2019, I served a
copy of the foregoing via email and first-class mail to the following counsel of record:

                              Sarah A. Churchill, Esquire
                              Nichols & Churchill, P.A.
                              1250 Forest Avenue
                              Portland, ME 04103
                              schurchill@nicholschurchill.com




                                                     /s/ Frederick B. Finberg




B0093230.1                                       3
